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                         IN THE UNITED STATES DISTRICT COURT
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                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     WPENGINE, INC., a Delaware corporation,     Case No. 3:24-cv-06917-AMO
11
                  Plaintiff,                     [PROPOSED] ORDER GRANTING
12
                                                 PLAINTIFF WPENGINE, INC.’S
13         vs.                                   MOTION FOR PRELIMINARY
                                                 INJUNCTION
14 AUTOMATTIC INC., a Delaware
   corporation; and MATTHEW CHARLES
15 MULLENWEG, an individual,

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                  Defendants.
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                                                                      Case No. 3:24-cv-06917-AMO
                                                        [PROPOSED] ORDER GRANTING PLAINTIFF
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 1          The Court, having considered Plaintiff WPEngine, Inc.’s Motion for Preliminary Injunction

 2 (the “Motion”), and all briefing, evidence, and argument submitted in support of and opposition

 3 thereto, hereby finds that: (1) Plaintiff WPEngine, Inc. (“WPE”) is likely to succeed on the merits

 4 of its claims against Defendants Automattic Inc. and Matthew Charles Mullenweg (together,

 5 “Defendants”); (2) absent a preliminary injunction, WPE is likely to suffer irreparable harm; (3) the

 6 balance of equities tips in WPE’s favor; and (4) it is in the public interest to issue a preliminary

 7 injunction.

 8          1.      Accordingly, and for good cause shown, this Court hereby orders as follows:

 9 Plaintiff’s Motion for a preliminary injunction is GRANTED.

10          2.      Based upon the foregoing, and for the pendency of this action until it reaches a final

11 resolution, Defendants, and Defendants’ officers, agents, servants, employees, and attorneys, and

12 other persons or entities who are in active concert or participation with them, are hereby

13 RESTRAINED AND ENJOINED, from:

14                  (a)    blocking, disabling, or interfering with WPE’s and/or its employees’, users’,

15 customers’, or partners’ (hereinafter “WPE and Related Entities”) access to wordpress.org

16 resources. More specifically, Defendants shall “undo” their recent blocking and/or disabling of

17 WPE’s and Related Entities’ access to wordpress.org, and restore WPE’s and Related Entities’

18 access as it existed on or around September 20, 2024, including as follows:

19                         (i)     reactivate and restore all WPE employee login credentials to

20 wordpress.org resources (including login credentials to login.wordpress.org) as they existed as of

21 September 20, 2024;

22                         (ii)    disable any technological blocking of WPE’s and Related Entities’

23 access to wordpress.org that occurred on or around September 25, 2024, including IP address

24 blocking or other blocking mechanisms;

25                         (iii)   restore WPE’s and Related Entities’ access to wordpress.org in the

26 manner that such access existed as of September 20, 2024, including for avoidance of doubt the
27 following wordpress.org resources, which Plaintiff has demonstrated are necessary to its business

28 operations and to the continuity of its service to its customers and users:
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 1                                 (1)     Functionality and development resources (api.wordpress.org,

 2 core.svn.wordpress.org, plugins.svn.wordpress.org, themes.svn.wordpress.org,

 3 i18n.svn.wordpress.org, downloads.wordpress.org, make.wordpress.org, and

 4 translate.wordpress.org);

 5                                 (2)     Data resources (WordPress Plugin, Theme, and Block

 6 Directories, repositories, listings, and other password-protected resources within wordpress.org);

 7                                 (3)     Security resources (login.wordpress.org); and

 8                                 (4)     Support resources (trac.wordpress.org and

 9 slack.wordpress.org); and

10                          (iv)   remove the checkbox at login.wordpress.org that Defendants added

11 on or about October 8, 2024 asking users to confirm that they are “not affiliated with WP Engine in

12 any way, financially or otherwise,” which, if not checked, blocks access to wordpress.org;

13                  (b)     interfering with WPE’s control over, or access to, plugins or extensions (and

14 their respective directory listings) hosted on wordpress.org that were developed, published, or

15 maintained by WPE, including those that had been published, developed, or maintained by WPE as

16 of September 20, 2024. More specifically, Defendants shall return and restore WPE’s access to

17 and control       of   its   Advanced   Custom    Fields    (“ACF”)      plugin   directory   listing   at

18 https://wordpress.org/plugins/advanced-custom-fields, which Defendants took from WPE on or

19 about October 12, 2024, thereby impairing WPE’s access to its ACF data, interfering with its ACF

20 customer relationships, and impairing WPE’s ability to service its ACF customers and users;

21                  (c)     interfering with WPE’s and Related Entities’ WordPress installations (i.e.,

22 websites built with WordPress software) by using auto-migrate or auto-update commands to delete,

23 overwrite, disable, or modify any WPE plugin1 without the express request by or consent of WPE

24 and/or its users, customers, or partners (as applicable); and

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          WPE’s plugins include Smart Search, Advanced Custom Fields (ACF), Atlas Content Modeler

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 2                     (d)    interfering with WPE’s customer relationships by disclosing any purported

 3 lists of current or former WPE customers, or domains associated with current or former WPE

 4 customers. More specifically, Defendants shall remove the purported list of WPE customers

 5 contained in the “domains.csv” file linked to Defendants’ wordpressenginetracker.com website

 6 (which was launched on or about November 7, 2024) and stored in the associated GitHub repository

 7 located        at   https://github.com/wordpressenginetracker/wordpressenginetracker.github.io,   and

 8 otherwise cease from taking intentional steps to cause or solicit interference with Plaintiff’s

 9 customer relationships.

10           3.        Defendants contend that restoring WPE’s access to password-protected resources

11 accessed via login.wordpress.org is not warranted because such access is merely a convenience for

12 WPE, and is not necessary to ensure continuity of services for WPE’s customers. The Court

13 disagrees. Plaintiff has demonstrated that such access is indeed needed, both to avoid irreparable

14 harm to WPE and also to ensure continuity of services for WPE’s customers and users. For this

15 reason, providing Plaintiff only “unauthenticated access” (i.e., without login access) to select

16 resources on wordpress.org would be insufficient, including because it would not fully restore

17 WPE’s access to the status quo prior to the blocking Defendants imposed on or about September 24-

18 25, 2024.

19           4.        WPE has shown that its access to these functionality, data, support and security

20 resources on wordpress.org should be restored as it existed on or about September 20, 2024, to

21 enable WPE to respond to customer requests, monitor the status of other developers’ plugins utilized

22 on WPE’s customers’ websites, submit updates to its own plugins to address security vulnerabilities,

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   (ACM), Better Search Replace, Faust.js, PHP Compatibility Checker, WP Engine GeoTarget, WP
26 Migrate Lite, WP Offload Media Lite, WP Offload SES Lite, NitroPack, Genesis Beta Tester,
   Genesis Blocks, Genesis Connect For WooCommerce, Genesis Custom Blocks, Genesis Simple
27 Hooks, Genesis Simple Menus, WP Migrate DB Anonymization, SEO Data Transporter, Pattern

28 Manager, SQL Buddy, Database Backup for WordPress, Amazon Web Services, ACF Blocks, and
   Image Processing Queue.
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 1 submit and monitor bug reports, and access community-based forums tracking and discussing same,

 2 among other things.

 3          5.      Defendants’ suggestion that it should merely be ordered to maintain WPE’s current

 4 access to publicly available wordpress.org resources such as the WordPress software and the plugin

 5 repository (for manual download purposes) misses the point of WPE’s motion entirely, and would

 6 effectuate none of the requested relief whatsoever. WPE has always had access to these publicly

 7 available resources, which were never blocked.          For example, WPE can already access the

 8 WordPress code and plugin repository made available on the unauthenticated portions of

 9 www.wordpress.org, like any other Internet user. Defendants’ proposal to merely continue this

10 access therefore would not remedy the irreparable harm cause by Defendants’ blocking of the

11 password-protected resources on www.wordpress.org, as well as Defendants’ blocking of access to

12 api.wordpress.org. Defendants’ suggestion is therefore rejected.

13          6.      Accordingly, for all of the reasons articulated in WPE’s briefing and at the November

14 26 hearing, the Court thus finds that Defendants’ blocking of WPE’s and Related Entities’ access to

15 wordpress.org should be undone in its entirety, and restored to the state in which it existed as of

16 September 20, 2024, as set forth in Paragraph 2(a) above.

17          7.      These restrictions shall extend not just to acts targeting or impacting WPE and its

18 systems, servers or computers, but also WPE’s affiliates, partners, employees, users, or customers,

19 and all systems, servers, or computers owned or operated by or for the benefit of the foregoing. For

20 the sake of clarity, these protections apply regardless of whether these persons or entities are acting

21 in their personal or professional capacities.

22          8.      This preliminary injunction shall become immediately effective upon its entry and

23 shall remain in full force and effect through the date on which judgment is entered following the

24 trial of this action. To the extent Defendants have already put in place technology to prevent WPE

25 from accessing or controlling the above-referenced resources, they are ordered to remove any such

26 barriers within 24 hours of issuance of this Order. Defendants have demonstrated that they can
27 effectuate such changes in comparable time periods. See, e.g., Dkt. 47-1.

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 1          9.      Given the ongoing pattern of conduct by Defendants, and to the extent any future

 2 actions by Defendants targeting WPE violate the spirit of this Order by interfering with WPE’s

 3 customer relationships, violating the Computer Fraud and Abuse Act, 18 U.S.C. § 1030(a), unfairly

 4 competing with WPE in violation of Cal. B&P Code § 17200, or constitute extortionate or retaliatory

 5 actions, WPE may petition this Court on an expedited basis for further relief, including amendment

 6 of this Order to address those actions as needed. Any such request by WPE shall be filed as soon

 7 as practicable, and shall be limited to a 5-page brief with supporting declaration(s) as needed;

 8 Defendants shall have two (2) business days to respond, limited to a 5-page brief with supporting

 9 declaration(s) as needed; WPE shall have two (2) business days to reply, limited to a 2-page brief.

10 The Court will either rule on the papers or advise the parties if a hearing is needed.

11          10.     Because Defendants have confirmed they do not charge wordpress.org visitors like

12 WPE any fee for access, and given Defendants’ failure to demonstrate any need or justification for

13 a bond, WPE shall not be required to provide security or post a bond for the issuance of this

14 preliminary injunction.

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16          IT IS SO ORDERED.

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18 DATED: _________________

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                                                   The Honorable Araceli Martínez-Olguín
21                                                 UNITED STATES DISTRICT JUDGE
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